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IN THE UNITED STATES DISTRICT COURT 27
FOR THE NORTHERN DISTRICT OF OHIO Er
EASTERN DIVISION r
UNITED STATES OF AMERICA, . ) INDICTMENT
)
Plaintiff, ) e
1 1°20 CR 156 ®
V. ) CASE NO. R 6
) Title 18, United States Code,
ADAM T. BENNETT, ) Section 641
)
Defendant. ) J U D G E BAR KER

COUNT 1
(Theft of Government Property, 18 U.S.C. § 641)

The Grand Jury charges:

From in or around February 2015 and continuing until in or around June 2019, in the
Northern District of Ohio, Eastern Division, Defendant ADAM T. BENNETT, in a continuing
course of conduct, willfully and knowingly did steal, purloin and convert to his own use, without
authority, dispose of property of the United States exceeding $1,000.00 in value, belonging to the
United States Social Security Administration, an agency of the United States, to wit: Title XVI
Supplemental Security Income benefits, in the amount of approximately $39,305.00, in violation
of Title 18, United States Code, Section 641.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
